      Case 0:20-cv-62441-BB Document 1-2 Entered on FLSD Docket 12/01/2020 Page 1 of 37
                                                NATIONAL REGISTERED AGENTS, INC.
                                       SERVICE OF PROCESS SUMMARY TRANSMITTAL FORM
To: Steven E. Fox
    GreenSky, LLC                                                                                                    SOP Transmittal #         538579621
    5565 GLENRIDGE CONNECTOR, SUITE 700
    ATLANTA, GA 30342
                                                                                                                     800-592-9023 - Telephone
Entity Served: GREENSKY, INC (Domestic State: DELAWARE)




Enclosed herewith are legal documents received on behalf of the above captioned entity by National Registered Agents, Inc. or its Affiliate
in the State of GEORGIA on this 12 day of November, 2020. The following is a summary of the document(s) received:

1.       Title of Action: ALEXISS WRIGHT, ETC., PLTF. vs. GREENSKY, INC., ET AL., DFTS.
2.       Document(s) Served:           Other: -

3.       Court of Jurisdiction/Case Number: None Specified
                                            Case # None Specified

4.       Amount Claimed, if any: N/A

5.       Method of Service:
         _X_ Personally served by:            _X_ Process Server            ___ Law Enforcement             ___ Deputy Sheriff            ___ U. S Marshall
         ___ Delivered Via:                   ___ Certified Mail            ___ Regular Mail                ___ Facsimile
         ___ Other (Explain):
6.        Date and Time of Receipt:               11/12/2020 02:47:00 PM CST
7.        Appearance/Answer Date: None Specified
8.        Received From:            None Specified                                            9. Carrier Airbill # 1ZY041160197222815


                                                                                              10. Call Made to: Not required

11.         Special Comments:
SOP Papers with Transmittal, via UPS Next Day Air

Image SOP

Email Notification, Steven E. Fox steve.fox@greensky.com

Email Notification, Ann Broussard ann.broussard@greensky.com

Email Notification, Camille Johnson camille.johnson@greensky.com

Email Notification, Andrea Hill andrea.hill@greensky.com

Email Notification, Camille Johnson camille.johnson@greensky.com




NATIONAL REGISTERED AGENTS, INC.                                                                   CopiesTo:


Transmitted by Amy McLaren
The information contained in this Summary Transmittal Form is provided by National Registered Agents, Inc. for informational purposes only and should not
be considered a legal opinion. It is the responsibility of the parties receiving this form to review the legal documents forwarded and to take appropriate action.


ORIGINAL
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          Case 0:20-cv-62441-BB Document 1-2 Entered on FLSD Docket 12/01/2020 Page 2 of 37
         #1104
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                   IN THE CIRCUIT COURT OF THE SEVENTEENTH JUDICIAL CIRCUIT
                              IN AND FOR BROWARD COUNTY,FLORIDA


           ALEXISS WRIGHT,                                )
           an individual, on behalf of herself            )           Case No.:
           and others similarly situated,                 )
                                                          )
                                                          )       CLASS REPRESENTATION
                                  Plaintiff,              )
                                                          )
           V.                                             )       JURY TRIAL DEMAND

           GREENSKY,INC.,
           a corporation,

           and


           GREENSKY,LLC,                                  )
           a limited liability company,                   )
                                                          )
           and                                            )
                                                          )
           GREENSKY HOLDINGS,LLC,                         )
           a limited liability company,                   )
                                                          )
           and                                            )
                                                          )
           GREENSKY MANAGEMENT                            )
           COMPANY,LLC,                                   )   Summons is already issued for this
           a limited liability company,                   )
                                                          )
                                                          )
                                  Defendants.             )
                                                         SUMMONS

           STATE OF FLORIDA:

           To all and Singular Sheriffs of said State:

           YOU ARE HEREBY COMMANDED to serve this Summons and a copy of the Complaint in
           this action on Defendant GreenSky,Inc. by serving its registered-agent / owner at:

           National Registered Agents;Inc., 289 S. Culver
           Street, Lawrenceville, Georgia 30046
Case 0:20-cv-62441-BB Document 1-2 Entered on FLSD Docket 12/01/2020 Page 3 of 37



  Defendant is required to serve written defenses to the Complaint on Darren R. Newhart, Esq.,
  Fla. Bar No. 0115546, of Newhart Legal, P.A. located at P.O. Box 1351 Loxahatchee, FL,
  33470.
  Primary E-mail: DarrenQnewhartlegal.com within 20 days after service ofthis Summons on
  the Defendant, exclusive of the day of service, and to file the original ofthe defenses with the
  Clerk ofthis Court either before service on Plaintiff's attorney or immediately thereafter. If a
  Defendant fails to do so, a default will be entered against that Defendant for the relief demanded
  in the Complaint.


  WITNESS my hand and seal ofthis Court.

  As Clerk of said Court

 By:
    Deputy Clerk
                                            IMPORTANT

 A lawsuit has been filed against you. You have 20 calendar days after this summons is served on
 you to file a written response to the attached Complaint with the Clerk of the Court. A phone call
 will not protect you; your written response, including the case number given above and the
 names of the parties, must be filed if you want the Court to hear your side of the case. If you do
 not file your written response on time, you may lose the case, and your wages, money, and
 property may be taken thereafter without further warning from the Court. There are other legal
 requirements. You may want to call an attorney right away. If you do not know an attorney, you
 may call an attorney referral service or a legal aid office (listed in the phone book).
 If you choose to file a written response yourself, at the same time you file your written response
 to the Court, you must also serve a copy of your written response to the "Plaintiff's Attorney"
 named below.


 "If you are a person with a disability who needs any accommodation in order to participate in
 this proceeding, you are entitled, at no cost to you, to the provision of certain assistance. Please
 contact the ADA Coordinator, Diana Sobel, Room 20140, 201 S.E. Sixth Street, Fort
 Lauderdale, Florida 33301,954-831-7721 at least 7 days before your scheduled court
 appearance, or immediately upon receiving this notification if the time before the scheduled
 appearance is less than 7 days; if you are hearing or voice impaired, call 711."



                                          IMPORTANTE

 Usted ha sido demandado legalmente. Tiene veinte(20)dias, contados a partir del recibo de esta
 notificacion, para contestar la demanda adjunta, por escrito, y presentarla ante este tribunal.
 Localizado en: . Una Hamada telefonica no lo protegera. Si usted desea que el tribunal considere
Case
v    0:20-cv-62441-BB Document 1-2 Entered on FLSD Docket 12/01/2020 Page 4 of 37


 su defensa, debe presentar su respuesta por escrito, incluyendo el numero del caso y los nombres
 de las partes interesadas. Si usted no contesta la demanda a tiempo, pudiese perder el caso y
 podria ser despojado de sus ingresos y propiedades, o privado de sus derechos, sin previo aviso
 del tribunal. Existen otros requisitos legales. Si lo desea, usted puede consultar a un abogado
 inrnediatamente. Si no conoce a un abogado, puede llamar a una de las oficinas de asistencia
 legal que aparecen en la guia telefonica.
 Si desea responder a la demanda por su cuenta, al mismo tiempo en que presente su respuesta
 ante el tribunal, usted debe enviar por correo o entregar una copia de su respuesta a la persona
 denominada abajo cini "Plaintiff/Plaintiff's Attorney."(Demandate o Abogado del
 Demandante).
                                            IMPORTANT

 Des poursuites judiciaries ont ete entreprises contre vous. Vous avez 20 jours consecutifs a partir
 de la date de l'assignation de cette citation pour deposer une reponse ecrite a la plainte ci-jointe
 aupres de ce tribunal. Un simple coup de telephone est insuffisant pour vous proteger. Vous etes
 obliges de deposer votre reponse ecrite, avec mention du numero de dossier ci-dessus et du nom
 des parties nommees ici, Si vous souhaitez que le tribunal entende votre cause. Si vous ne
 deposez pas votre reponse ecrite dans le delai requis, vous risquez de perdre la cause ainsi que
 votre salaire, votre argent, et vos biens peuvent etre saisis par la suite, sans aucun preavis
 ulterieur du tribunal. II y a d'autres obligations juridiques et vous pouvez requerir les services
 immediats d'un avocat. Si vous ne connaissez pas d'avocat, vous pourriez telephoner a un
 service de reference d'avocats ou a un bureau d'assistance juridique (figurant a l'annuaire de
 telephones).
 Si vous choisissez de deposer vous-meme une reponse ecrite, ii vous faudra egalement, en meme
 temps que cette formalite, faire parvenir ou expedier une copie de votre response ecrite au
 "Plaintiff/Plaintiffs Attorney"(Plaignant ou a son avocet) nomme ci-dessous.
Filing #Case 0:20-cv-62441-BB
         110415753              Document02:29:53
                     E-Filed 07/17/2020  1-2 Entered
                                                 PM on FLSD Docket 12/01/2020 Page 5 of 37



               IN THE CIRCUIT COURT OF THE SEVENTEENTH JUDICIAL CIRCUIT
                          IN AND FOR BROWARD COUNTY,FLORIDA

         ALEXISS WRIGHT,
         an individual, on behalf of herself             Case No.:
         and others similarly situated,

                                                        • CLASS REPRESENTATION
                             Plaintiff,

         V.                                              JURY TRIAL DEMAND

        GREENSKY,INC.,
        a corporation,

        and

        GREENSKY,LLC,
        a limited liability company,

        and

        GREENSKY HOLDINGS,LLC,
        a limited liability company,

        and

        GREENSKY MANAGEMENT
        COMPANY,LLC,
        a limited liability company,

                             Defendants.

                                     CLASS ACTION COMPLAINT

               1.     Plaintiff Alexiss Wright(née Hipps) brings this class action petition against

        Defendants to recover damages for herself and others similarly situated caused by

        GreenSky's failure to comply with state loan brokering and credit services laws. This

        petition also requests injunctive relief. On information and belief, Plaintiff alleges as

        follows:



                                                    1
Case 0:20-cv-62441-BB Document 1-2 Entered on FLSD Docket 12/01/2020 Page 6 of 37




                        PARTIES,JURISDICTION, AND VENUE

        2.     Plaintiff ("Plaintiff" or "Wright") is a natural person over the age of 18, a

  consumer, and a resident of Florida.

        3.     Defendant GreenSky, Inc. is a publicly traded corporation. It is

  incorporated in Delaware (#6405292) with its principal place of business in Georgia.

 GreenSky, Inc. may be served by serving National Registered Agents. Inc., 289 S. Culver

 Street, Lawrenceville, Georgia 30046.

        4.     Defendant GreenSky Holdings, LLC is, on information and belief, a shell

 entity that was created to effect the initial public offering of Defendant GreenSky, Inc.

 GreenSky Holdings,LLC may be served by serving National Registered Agents. Inc., 289

 S. Culver Street, Lawrenceville, Georgia 30046.

        5.     Defendant GreenSky, LLC is a limited liability company that is wholly

 owned by Defendant GreenSky Holdings, LLC and controlled by Defendant GreenSky,

 Inc. GreenSky, LLC may be served by serving National Registered Agents. Inc., 289 S.

 Culver Street, Lawrenceville, Georgia 30046.

        6.     Defendant GreenSky Management Company,LLC,is registered in Florida

 as a foreign limited liability company. GreenSky Management Company, LLC may be

 served by serving NRAI Services,Inc.,1200 S.Pine Island Road,Plantation,Florida 33324.

        7.     These four GreenSky entities are collectively referred to as "GreenSky."

        8.     Subject-matter jurisdiction is proper in this Court under Fla. Stat. § 687.147,

 which endows those injured by violations of Florida's loan broker law with a private




                                              2
Case 0:20-cv-62441-BB Document 1-2 Entered on FLSD Docket 12/01/2020 Page 7 of 37




  cause of action, and Fla. Stat. § 817.706, which endows those injured by violations of the

  State Credit Repair Statute with a private cause of action.

        9.      Venue is proper in this Court under Fla. Stat. § 47.051 as Defendant

  GreenSky Management Company,LLC has an agent in Broward County.

                              SUBSTANTIVE ALLEGATIONS

                            Florida Loan Broker and CSOA Laws

        10.    Entities that broker consumer loans in Florida are regulated by, among

 other laws,Fla. Stat. § 687.14 et seq.

        11.    Entities that obtain extensions of credit or advise or help obtain extensions

 of credit for consumers, known as credit services organizations, are regulated by the

 Florida Credit Service Organizations Act(CSOA),Fla. Stat. § 817.7001 et seq.

        12.    Broadly speaking, the loan brokering laws and CSOA require consumer

 loan brokers and credit services organizations to abstain from certain business practices

 unless they are licensed or chartered; prohibit misrepresentations, fraudulent and

 deceptive acts in connection with making or aiding in the extension of loans; and provide

 remedies for consumers harmed by unlawful lending practices.

        13.    For example, no loan broker may "[m]ake or use any false or misleading

 representations or omit any material fact in the offer or sale of the services of a loan

 broker or engage, directly or indirectly, in any act that operates or would operate as

 fraud or deception upon any person in connection with the offer or sale of the services

 of a loan broker, notwithstanding the absence of reliance by the buyer." Fla. Stat. §

 687.141(2)(emphasis added).




                                              3
Case 0:20-cv-62441-BB Document 1-2 Entered on FLSD Docket 12/01/2020 Page 8 of 37




         14.   The CSOA, using nearly identical language, sets forth the same

  proscriptions for credit services organizations.

        15.    By concealing the nature and amount of its merchant fees from consumers,

  as described below,as well as by other aspects of its business,GreenSky has violated both

  the loan brokering law and CSOA tens, or hundreds, of thousands of times in Florida.

        16.    These laws also limit the nature and amount of fees that lenders, brokers,

  and credit services organizations may charge consumers for lending, obtaining, or

  helping consumers obtain loans, and require all fees associated with providing these

 services to be disclosed.

        17.    The CSOA also mandates several disclosures and decrees that credit

 services organizations are prohibited from charging any fee to refer consumers to third-

  party lenders for loans where the loan terms are substantially the same as those available

 to the public, or that would have been extended to the consumer without the credit

 services organization's assistance. Fla. Stat. § 817.7005(2).

        18.    As described below, GreenSky operates in Florida as a consumer loan

 broker and credit services organization while engaging in practices prohibited by the

 brokering law and CSOA.

                                GreenSky's Business Model

        19.    GreenSky has built a billion-dollar business partnering with lending

 institutions and merchants to offer point-of-sale loans to consumers who wish to finance

 home improvement projects and repairs, solar-panel installation, and elective surgery.




                                               4
Case 0:20-cv-62441-BB Document 1-2 Entered on FLSD Docket 12/01/2020 Page 9 of 37




        20.    The merchants in GreenSky's program are a group of over 17,000

  contractors and other home improvement specialists, as well as medical offices.

        21.    GreenSky's bank partners are a group of about 12 lending institutions,

  including regional banks SunTrust(now Truist), Fifth Third, and BMO Harris.

        22.    Merchants in GreenSky's program connect their customers with

  GreenSky's bank partners using GreenSky's mobile app, which allows GreenSky to

  orchestrate the entire lending process,from application to funding.

        23.    As discussed below, GreenSky earns the vast bulk of its revenues by taking

  an undisclosed cut on the front side of a consumer loan: GreenSky receives what it calls

 a "merchant fee," which is calculated as a percentage of the loan principal.

                              The Loan-Origination Process

        24.    Merchants in GreenSky's program can submit applications for GreenSky-

 branded loans for their customers in minutes using the GreenSky app on a tablet or '

 smartphone.

        25.    GreenSky thereby orchestrates the loan origination process before a bank is

 involved.

        26.    To apply, the merchant first selects one of the GreenSky program's loan

 products, which vary by APR,loan duration, GreenSky's own "promotional" terms and,

 accordantly, merchant fee. The consumer rarely, if ever, sees the full range of loan plans

 offered by the GreenSky program.

        27.    Further, the majority of the merchants —roofers, plumbers, HVAC

 specialists — that use GreenSky's app have no significant training in consumer finance




                                             5
Case 0:20-cv-62441-BB Document 1-2 Entered on FLSD Docket 12/01/2020 Page 10 of 37




  and are incentivized to sell more of their product rather than properly tell borrowers

  about the loan terms.

         28.    After GreenSky's app has auto-populated some of the consumer's

  information (e.g., their address based on GPS location), the customer or merchant enters

  some of the customer's personal information into GreenSky's app, including the

  customer's address, income, and social security number, and the merchant submits the

  application to GreenSky for approval.

         29.    GreenSky then runs the customer's credit, and approves or denies the

  loan— usually in seconds —based on the criteria supplied by its bank partners and its own

  proprietary risk calculations, and allocates the loan to one of its bank partners for funding

  according to its own proprietary "round-robin" system.

         30.    Once GreenSky approves the loan, and arranges for one of its banking

  partners to fund the loan, the GreenSky app generates a "shopping pass" for the

  consumer's loan, like the one below. The shopping pass has a sixteen-digit number that

  functions like a credit card:




                                               6
Case 0:20-cv-62441-BB Document 1-2 Entered on FLSD Docket 12/01/2020 Page 11 of 37




        31.    GreenSky tells the merchant to take a picture of the shopping pass as soon

  as it is generated. The merchant can also independently access the shopping pass through

  a merchant portal. This means that the merchant is always privy to the consumer's

  shopping pass information.

        32.    GreenSky afterward mails(and in some cases emails) the consumer a copy

  of the shopping pass and loan agreement, and arranges for the consumer to make

  payments on the loan, which GreenSky usually services. This is typically the first time in

  the lending process that the consumer sees the loan terms.

        33.    Theoretically, after receiving the shopping pass, the consumer then gives

  the sixteen-digit number to the merchant and authorizes it to be charged for completed

  services. But in practice, since the merchant receives the shopping pass through the app

  as soon as it is generated, merchants may charge the shopping pass upon approval

  without waiting for further action by the consumer.



                                              7
Case 0:20-cv-62441-BB Document 1-2 Entered on FLSD Docket 12/01/2020 Page 12 of 37




         34.      Once GreenSky charges the shopping pass, the loan is funded through the

  MasterCard network, by the bank partner GreenSky to which has allocated the loan.

         35.      The graphic below, taken from one of GreenSky's own presentations,

  depicts how it essentially acts as a middle-man between banks, merchants, and

  consumers:


   GreenSkjr
                                         Economic Model
       Merchant / Provider                                          Bank Partner            Consumer




                                        Revenue

        Transaction Fee      >         77%1       23%1              Servicing Fees




                                   Cost of Revenue
                                                             co
                                                         -- -)Finance Charge Reversals
                                                                                             APR
                                                                  I ncentive Payments   <

                                 (4)     Escrow



         36.      This depiction, however,neglects to mention that the "transaction fee" may

  be included as project "overhead" by the merchants, so that consumers pay some or all

  of GreenSky's illicit fees, as well as the fact that GreenSky receives some of the "APR"

  payments as "incentive payments," which result from anti-competitive and deceptive

  practices.

                           GreenSky Receives Unlawful Fees
           and Otherwise Violates Florida Loan Brokering Laws and the CSOA

        37.      In connection with each GreenSky-branded loan, GreenSky is paid a

  predetermined percentage of the loan, which GreenSky calls a "merchant fee" (or

  sometimes a merchant "transaction fee").




                                                         8
Case 0:20-cv-62441-BB Document 1-2 Entered on FLSD Docket 12/01/2020 Page 13 of 37




         38.    GreenSky calculates the merchant fee by multiplying a set fee percentage

  (as outlined in a schedule that GreenSky provides to the merchants)by the dollar amount

  of the loan principal. The fee is "due and payable to GreenSky upon the funding of [the

  1]oan."

         39.    The merchant fee rates are calculated by GreenSky to neutralize sources of

  risk, which include the "promotions" offered solely by GreenSky; as a result, merchant

  fees are higher relative to the attractiveness of the given promotion, a fact that is likewise

  concealed from consumers.

         40.    The merchant fees result from a contract, between GreenSky and the

  merchants, to which consumers are not privy. GreenSky also provides the merchants

  with the fee schedules that determine the magnitude of the required fee; consumers are

  not, of course, privy to these schedules either. Thus, GreenSky's merchant fees (illicit

  finance charges) result from,in essence, a kick-back from the merchants to GreenSky.

         41.    GreenSky has encouraged merchants to build GreenSky's fees into project
  //overhead" so that they may be passed on to consumers.

        42.     These merchant fees make up the bulk of GreenSky's revenue and

  profitability. Thus, GreenSky's "profitability is strongly correlated with merchant

  transaction volume."

        43.     Although the precise amounts of the merchant fees are based on the

  variables listed above, GreenSky currently collects about 7% of the total loan amount as

  a merchant fee per loan.




                                               9
Case 0:20-cv-62441-BB Document 1-2 Entered on FLSD Docket 12/01/2020 Page 14 of 37




         44.    That approximate 7% level has been reduced in recent years from an

  approximate 9% level. The primary reason for this reduction is GreenSky's reduction in

  funding high-interest, predatory loans for the installation of solar systems.

         45.    Because consumers tend to use Greensky-program financing for expensive

  projects (approximately $9,000, on average), the fee that GreenSky collects is typically

  larger than an ordinary "transaction fee" and, again, increases with the amount of the loan.

        46.     And because GreenSky-program loans typically come with terms

 (including APR and loan period) substantially similar to what a consumer could receive

  by securing financing directly from the lender, as discussed below, under the CSOA,

  GreenSky is prohibited from charging any fee in connection with these loans.

        47.     As GreenSky's Vice Chairman and CEO, respectively, explained in an

  investor call, GreenSky encourages merchants to pass these fees onto consumers:

        Andrew Jeffrey [financial analyst]:"I guess your research as I understand it is that
        merchants' willingness to pass on higher transaction costs to consumers, and
        consumers' willingness and desire to sort of absorb these costs... even though the
        consumer might be paying more today than he was yesterday, he still feels like
        he's getting a pretty good deal. Did I sort of summarize that reasonably well. . ."

        Gerry Benjamin [GreenSky Vice Chairman and GAO]:"Yes. Absolutely."

        David Zalik [GreenSky founder, CEO,and Chairman]:"Even as we've had nearly
        half a dozen rate increases, what the merchants do is if it's a particular merchant
        that used to spend 7% when Fed funds were near zero,and we've raised their price
        200 or 300 basis points [2 or 3% of principal] on whatever plan they were using,
        what the merchants do is say,I'm going to still only spend 7%. And they're going
        to choose a product that is more expensive for the consumer, which is still great
        for the consumer because relative to market rates, the consumer is still getting a
        promotion that is worth 7%."




                                              10
Case 0:20-cv-62441-BB Document 1-2 Entered on FLSD Docket 12/01/2020 Page 15 of 37




         48.    GreenSky may also receive "incentive payments" from its bank partners.

  These incentive payments stem from loan origination agreements between the banks

  and GreenSky to which consumers are not privy.

        49.     Generally,incentive payments stem from GreenSky's "waterfall structure,"

  as shown below,which overtly incentivizes GreenSky to generate loans with APRs higher

  than what the banks would otherwise be willing to accept because GreenSky keeps a

  portion of the interest rate spread (the excess above the "agreed-upon target margin").

        50.     These incentive payments are unknowingly paid by GreenSky-program

  customers in the form of interest payments.

        51.     Generally, GreenSky's "round-robin" allocation system, along with the

  waterfall structure,is anticompetitive, with GreenSky and the banks splitting interest rate

  spreads at the expense of consumers.


          GreenSky
                   Our Waterfall Structure with Our Bank Partners is a
                 Key Innovation for Our Company & Pillar of Our Success


                                      We May Collect Incentive Payments
                                            from Bank Partners

                                    Billed portfolio yield
                                    10%
                                                              Fixed servicing fee
                                                             (1%)
                                                                                Agreed-upon
                                                                                target margin paid to
                                          Realized credit losses                bank partner
                                                       (2.75%)                 (4%)



                                       Cash escrow
                                           1%
                                                                             Illustrative
                                                                         incentive payment
                                                                                2.25%




                                                             11
Case 0:20-cv-62441-BB Document 1-2 Entered on FLSD Docket 12/01/2020 Page 16 of 37




         52.     In effectuating and approving the loan,GreenSky never discloses the nature

  or amount of its merchant fee or possible incentive payments to consumers.

         53.     For approximately 40% of its loan book, GreenSky offers "promotional

  period" loan products, which are defined by a period — usually, six to eighteen months —

  of possible interest "waiver." These are,in essence, deferred-interest loan products.

         54.     This means that,should the borrower be able to pay back the entirety of the

  loan principal before the end of the promotional waiver period, then the accrued interest

  will be, per GreenSky,"waived."

         55.     However, that accrued interest is not actually waived by the bank; rather,

  GreenSky makes a remittance to the bank in the amount of the accrued interest should

  the consumer be able to pay back the entire loan before the deadline.

        56.      GreenSky calls these remittances "finance charge reversals" (FCRs) and

  treats them as a cost of revenue.

        57.      Because the bank —but not GreenSky —receives the stated interest rate

  regardless of whether the consumer is able to pay the loan back within the waiver period,

  the banks do not actually offer such waiver periods — they are a promotional term offered

  by GreenSky alone.

        58.      Of course, GreenSky is not in the business of simply subsidizing high-

' interest loan payments for the many consumers who are able to pay off their loans before

  the deadline

        59.      Rather,in order to compensate itself and neutralize the risk associated with

  waiver periods and possible FCRs,GreenSky charges higher merchant fees as the waiver




                                              12
Case 0:20-cv-62441-BB Document 1-2 Entered on FLSD Docket 12/01/2020 Page 17 of 37




  period increases. Again, GreenSky does not disclose these fees, fee schedules, or the

  nature of this arrangement to consumers.

         60.        The black line in the graph below, taken from a GreenSky investor

  presentation, depicts the inversion (higher APRs for higher credit scores) for loan

  products with waiver periods, or "deferred rates":1

 GreenSky
                                   Weighted Average APR at Origination
        U pward trend driven by Deferred Interest loan products stable credit profile


         25.0%                                                                                                                                 780
                                                                                                                                       •

                                                                                        24.7%       24.8%      24.5%
                                                                               24.4%                                   24.4%   24%
                                                                                                                                A      24.4%
                                                                                                                                               770

                                                            22.0%
         20.0%                                                                                                                                 760
                 20.3%
                   -

                                                                                                                                               750



                                                                                        13.9%       14.0%              13.7%   14.0%           740
                                                                                                               13.7%                   137%
                                                                               13.3%
                                                                      12.5%                                                             •
                                                 11.9%     12.2%
                           11.4%      11.5%                                                                                                    730
                 11.2%                                                                                                                               0
                                                                                                                                                     -
       2 10.0%                                                                                                                                 720

                                                                               7.2%     7.3%        7.4%       7.4%    7.3%    7.2%    7.1%
                                                            6.9%       7.1%
                           6.5%        6.6%      6.6%                                                                                          710
                 6.3%


          5.0%                                                                                                                                 700


                                                                                                                                               690


         0.0%                                                                                                                                  680
                 CLI. 17   0217       0317       0417      0.1.18     0218     0318    0418         Ct1,19    0219     Q319    Q4.19   0120

                                  1==f Weighted Avg. FICO at Origination       Reduced Rate     ...O..-Deferred Rate




        61.        Per this chart, loans with deferred rates have a weighted average APR of

  over 24% on a FICO score of nearly 780. That can be compared to weighted averages of




  1 GREENSKY,INC.,(Corrected) First Quarter 2020 Investor Presentation, p. 22(May 11,
  2020), available at http://investors.greensky.com/static-files/668cde41-ef21-4145-b3be-
  41fee614acaf (last visited July 15, 2020).


                                                                              13
Case 0:20-cv-62441-BB Document 1-2 Entered on FLSD Docket 12/01/2020 Page 18 of 37




  about a 7% APR on a 710 FICO score for "reduced rate" products, which carry

  increasingly large merchant fee rates to compensate for reduced interest rates.

        62.    The practical effect of such an arrangement is that the banks harvest higher

  weighted-average APRs (the green line) on their GreenSky-program portfolios because

  of the high APRs associated with waived-interest promotional period loans.

        63.    GreenSky hedges the interest-rate risk through its merchant fee schedules

  and benefits from, in aggregate, the higher APRs stemming from the waived-interest

  promotional loans because of incentive payments.

        64.    In the case of consumers who are unable to pay off the loan principal before

  the waiver deadline, GreenSky keeps the higher merchant fee, does not remit an FCR,

  and the bank keeps the high interest payments.

        65.    GreenSky's consumer customers have paid for this illegal arrangement

  through hidden merchant fees and higher interest rates.

                  GreenSky Offers Loans on the Same Terms as Those
                           Available to the General Public

        66.    Despite — or perhaps because of — GreenSky's taking of a large upfront fee,

  as well as back-end "incentive payments," the terms of GreenSky-branded loans are often

  not better for consumers than what they would receive outside the GreenSky program.

        67.    For example,SunTrust,one of GreenSky's largest bank partners by volume,

  offers home improvement loans directly to consumers on substantially the same — and

  often better — terms than those offered by GreenSky.

        68.    According to SunTrust's website, through a program called LightStream,

  SunTrust offers home improvement loans on an unsecured basis, with durations from 24



                                            14
Case 0:20-cv-62441-BB Document 1-2 Entered on FLSD Docket 12/01/2020 Page 19 of 37




  to 144 months,for amounts from $5,000 to $100,000, with "same day funding available,"

  "no fees," for large projects such as adding kitchens, swimming pools, or solar systems,

  and "will beat any qualifying rate."

         69.       The applicable APR-duration-loan amount matrix for LightStream loans,as

  of April 8, 2020, was:


                                              Loan Term (months)•


        Loan Amount        24- 36      37 - 48        49 -60           61- 72     73 -84     85 -144



                         7.84%-     8.59%-         9.09%-           9.84% -
      $5,000 to $9,999                                                              N/A        N/A
                         13.29%     14.39%         14.99%           15.29%



      $10,000 to         4.99% -    7.19% -        7.79% -          8.39% -     8.94% -
                                                                                               N/A
      $24,999            13.29%     14.14%         14.49%           14.79%      14.99%



      $25,000 to         6.59% -    7.19%-         7.79% -          8.39% -     8.94% -    6.89% -
      $49,999            13.29%     14.14%         14.49%           14.79%      14.99%     14.99%



      $50,000 to         6.59% -    7.19% -        7.79% -          8.39% -     8.94% -    6.89% -
      $100,000           13.29%     14.14%         14.49%           14.79%      14.99%     14.99%




         70.       By comparison, a GreenSky-branded SunTrust loan product generated in

  June 2017 for $10,000 carried an APR of 23.99% over a duration of 36 months-much

  higher than the 4.99 to 13.29% APR offered directly through SunTrust.

         71.       To the extent GreenSky takes prepayment risk (i.e., finance charge reversal

  risk, as explained below) on such loans, it is compensated by higher front-end merchant

  fees, which are passed on to consumers and relatively expensive owing to the time value

  of money.



                                                     15
Case 0:20-cv-62441-BB Document 1-2 Entered on FLSD Docket 12/01/2020 Page 20 of 37




         72.    In aggregate, relative to SunTrust, which has funded around $7 billion in

  total GreenSky-program loans, SunTrust keeps meaningfully higher interest rate

  payments, splits some of these excess payments with GreenSky, and GreenSky charges

  higher merchant fees to cover for the higher APRs.

         73.    Therefore, GreenSky accepts valuable consideration for obtaining credit on

  "substantially the same"(if not significantly worse)terms as those available to the public.

         74.    For approximately 40% of its loan volume, GreenSky offers "promotional"

  loans with "waived" interest promotional periods (usually six to 18 months)in which to

  repay the loan principal in full without incurring interest charges. If the consumer fails

  to pay off the entire loan during the promotional period, the accrued interest is added to

  the remaining principal once the promotional period expires. Since GreenSky is assuming

  the pre-payment risk for these loans with promotional periods, it charges higher

  merchant fees in connection with them.

         75.    If a consumer does happen to pay back the entirety of the loan principal

  within the promotional period, then GreenSky remits a "finance charge reversal" to the

  relevant bank partner in the amount of the forgone interest.

         76.    Thus, such waived-interest promotional periods are not offered by the

  banks: they are a financing term belonging solely to GreenSky as the banks receive the

  stated APR regardless. Consumers are not privy to this arrangement and, again,

  GreenSky charges consumers more to cover promotional-period risk.




                                              16
Case 0:20-cv-62441-BB Document 1-2 Entered on FLSD Docket 12/01/2020 Page 21 of 37




         77.    Despite its role as a consumer loan broker and credit services organization,

  GreenSky is not registered as such in, on information and belief, any of the many states

  that require licensure/registration of loan brokers and credit service organizations.

         78.    Instead, GreenSky attempts to pass itself off as merely a "loan servicer,"
  //program administrator," or "payment platform." This constitutes a calculated

  deception, of consumers and regulators, designed to conceal the fact that GreenSky takes

  undisclosed finance charges on consumer loans:

        79.     GreenSky's attempts to paint itself as just a payment platform or loan

  servicer do not square with the loan process described above,or with GreenSky's investor

  materials, public statements, and financial reports.

        80.     GreenSky's IPO prospectus touts its central role in the lending process,

  telling investors that GreenSky's platform supports "the full transaction lffecycle,

  including credit application, underwriting, real-time allocation to bank partners,

  funding,settlement, and servicing."

        81.    GreenSky's financial statements confirm that the lion's share of its revenues

  come from brokering fees — both merchant fees and incentive payments from its partner

  banks —notfrom loan servicing or software licenses.

        82.    For example, in its 2019 Form 10-K, GreenSky told investors,"We derive

  most of our revenue and profitability from upfront transaction fees that merchants pay

  us every time they facilitate a transaction using our platform."

        83.    GreenSky's practice of originating consumer loans without a license has

  been challenged by regulators and consumers in several states.




                                             17
Case 0:20-cv-62441-BB Document 1-2 Entered on FLSD Docket 12/01/2020 Page 22 of 37




         84.    The New Jersey Department of Banking and Insurance sent GreenSky a

  letter in 2015 regarding its "possible unlicensed New Jersey consumer loan activity,"

  prompting GreenSky to register as a "money transmitter" in New Jersey.

         85.    In 2017, a federal court in Florida upheld a complaint filed by a consumer

  alleging that GreenSky operated improperly as a credit services organization.

         86.    And, last year, a court-appointed receiver in Alabama concluded that

  GreenSky loans in the state "were improperly obtained and should be invalidated," after

  finding that GreenSky "d[id] not have a license to engage in lending activity in the State

  of Alabama, and had "[e]ffectively [] made plumbers with no banking training or

  experience its de facto loan officers."

         87.    In sum, despite what GreenSky says, and despite not being licensed to do

  so (i.e., none of the GreenSky entities have registered to do business and/or be licensed

  in the State of Florida as a CSOA or a loan broker), GreenSky brokers and facilitates loans

  for consumers across the state, extending credit without providing required disclosures,

  and charging substantial undisclosed fees, in clear violation of Florida laws.

                                 PLAINTIFF'S EXPERIENCE

        88.     Plaintiff Alexiss Wright(née Hipps)is a resident of Florida.

        89.     In the summer of 2016, Wright purchased a new air-conditioning system.

        90.     That purchase was financed by the GreenSky program.

        91.     Per the terms of Wright's GreenSky installment loan agreement, the APR

  was 0.00%.




                                              18
Case 0:20-cv-62441-BB Document 1-2 Entered on FLSD Docket 12/01/2020 Page 23 of 37




         92.    GreenSky took a "merchant fee" of approximately 16% of principal on

  Wright's loan.

         93.    The principal amount of Wright's loan was $9,522.

         94.    Thus, GreenSky took a "merchant fee" of about $1,500 on Wright's loan.

         95.    This amount was not disclosed to Wright.

         96.    Wright unknowingly paid some or all of GreenSky's merchant fee.

         97.    Wright paid that loan off in late 2018.

                        TOLLING OF THE STATUTE OF LIMITATIONS

         98.    Discovery Rule: Plaintiff's and class members' claims accrued upon

  discovery of the facts described above. While GreenSky knew,and concealed, these facts,

  Plaintiff and class members could not and did not discover these facts through reasonable

  diligent investigation.

        99.     Active Concealment Tolling: Any statutes of limitations are tolled by

  GreenSky's knowing and active concealment of the facts set forth above. GreenSky kept

  Plaintiff and class members ignorant of vital information essential to the pursuit of their

  claims, without fault or lack of diligence on Plaintiff's or class members' part. The details

  of GreenSky's efforts to conceal its above-described unlawful conduct — including its

  failure to disclose material facts concerning the nature and amount of the fees it charges

  consumers and the illicit nature of its lending practices — are in its possession, custody,

  and control, to the exclusion of Plaintiff and class members, and await discovery.

  Plaintiffs and class members could not have reasonably discovered these facts, nor that

  GreenSky failed to disclose them.




                                               19
Case 0:20-cv-62441-BB Document 1-2 Entered on FLSD Docket 12/01/2020 Page 24 of 37




         100.   Estoppel: GreenSky was and is under a continuous duty to disclose to

  Plaintiff and class members the nature and amount of the fees it charges consumers and

  the unlicensed nature of its lending practices. At all relevant times, and continuing to this

  day, GreenSky knowingly, affirmatively, and actively concealed these facts. The details

  of GreenSky's efforts to conceal its above-described unlawful conduct are in its

  possession, custody, and control, to the exclusion of Plaintiff and class members, and

  await discovery. Plaintiff and class members reasonably relied on GreenSky's active

  concealment, and GreenSky is therefore estopped from relying on any statutes of

  limitation in defense of this action.

         101.   Equitable Tolling: GreenSky took active steps to conceal and misrepresent

  material facts relating to its unlawful conduct, including the nature and amount of the

  fees it charges consumers and the unlicensed nature of its lending practices. The details

  of GreenSky's efforts are in its possession, custody, and control, to the exclusion of

  Plaintiff and class members, and await discovery. When Plaintiff learned about this

  material information, she exercised due diligence by thoroughly investigating the

  situation, retaining counsel, and pursuing her claims. Should such tolling be necessary,

  therefore, all applicable statutes of limitation are tolled under the doctrine of equitable

  tolling.

                              CLASS ACTION ALLEGATIONS

         102.   Plaintiff, pursuant to Rule 1.220(a), (b)(2), and (b)(3), brings this action on

  behalf of all others similarly situated ("Class")—from at least four years prior and up to




                                              20
Case 0:20-cv-62441-BB Document 1-2 Entered on FLSD Docket 12/01/2020 Page 25 of 37




  and including the filing date of this petition—("Class Period"), with the Class initially

  defined as:

           All persons who secured or made payments on a GreenSky-program loan in
           Florida between July 17,2016 and the present.

           103.   The following persons shall be excluded from the Class (1) GreenSky and

  its subsidiaries and affiliates;(2) governmental entities;(3) the judge(s) to whom this case

  is assigned and any immediate family members thereof; and (4) anyone who has

  previously settled these claims with GreenSky.

           104.   The claims for relief asserted herein satisfy the prerequisites for certification

  as a class action pursuant to Rule 1.220(a),(b)(2) and (b)(3):

           a.     There are common questions of law or fact common to the Class;

           b.     Plaintiff's claims or defenses are typical of the claims or defenses of the

  Class;

           c.     Plaintiff will fairly and adequately protect the interests of the Class;

           d.     The questions of law or fact common to the respective Class members

  predominate over any questions affecting only individual members;

           e.     A class action is superior to other available methods for fairly and

  efficiently adjudicating the controversy; and

           f.     GreenSky has acted and/or refused to act on grounds generally applicable

  to all the members of the class, thereby making final injunctive relief or declaratory relief

  concerning the class as a whole appropriate.




                                                 21
Case 0:20-cv-62441-BB Document 1-2 Entered on FLSD Docket 12/01/2020 Page 26 of 37




         105.   Numerosity. Defendants have engaged in millions2 of the type of lending

  transactions described in this complaint, including tens or hundreds of thousands in

  Florida. Members of the proposed Class are thus too numerous to practically join in a

  single action. Class members may be notified of the pendency of this action by mail,

  supplemented by published notice (if deemed necessary or appropriate by the Court).

        106.    Commonality and Predominance. This action involves common questions

  of law or fact, which predominate over any questions affecting individual Class

  members,including, but not limited to, the following:

         a.     Whether GreenSky concealed its merchant fees from consumers;

         b.     Whether GreenSky's charging of merchant fees violates Florida law;

         c.     Whether the amount of GreenSky's merchant fees violates Florida law;

         d.     Whether GreenSky concealed its incentive payments from consumers;

         e.     Whether GreenSky's receipt of incentive payments violates Florida law;

        f.      Whether GreenSky is a "loan broker" under Florida law;

        g.      Whether GreenSky is a "credit service organization" under Florida law;

        h.      Whether Plaintiff and Class members are entitled to damages, restitution,

  disgorgement, or other equitable relief; and,

        i.      Whether GreenSky should be enjoined from engaging in this type of

  conduct.




  2 As of, approximately, the   end of fiscal year 2019, GreenSky had originated over three
 . million consumer loans.


                                               22
Case 0:20-cv-62441-BB Document 1-2 Entered on FLSD Docket 12/01/2020 Page 27 of 37




         107.   Typicality. Plaintiff's claims are typical of the claims of the Class because,

  among other things, Plaintiff, like all members of the Class, received a GreenSky loan in

  which the amount of the merchant fee was hidden,including the basis (i.e., the merchant

  fee schedule and merchant program agreement)for such fee.

         108.   Adequacy of Representation. Plaintiff is an adequate representative of the

  Class because her interests do not conflict with the interests of the Class that she seeks to

  represent; she has retained counsel competent and experienced in complex class action

  litigation; and Plaintiff intends to prosecute this action vigorously. The interests of the

  Class will be fairly and adequately protected by Plaintiff and her counsel.

        109.    Superiority. A class action is superior to all other available means for the

  fair and efficient adjudication of this controversy, including, but not limited to, the

  following reasons:

        a.      The damages or other financial detriment suffered by individual Class

  members are relatively small compared to the burden and expense that would be

  required to individually litigate their claims against GreenSky, so it would be

  impracticable for the members to individually seek redress for GreenSky's wrongful

  conduct;

        b.      Even if the members of the Class could afford individual litigation, the

  court system could not. Individualized litigation creates a potential for inconsistent or

  contradictory judgments,and increases the delay and expense to all parties and the court

  system. By contrast, a class action presents far fewer management difficulties and




                                              23
Case 0:20-cv-62441-BB Document 1-2 Entered on FLSD Docket 12/01/2020 Page 28 of 37




  provides the benefits of single adjudication, economies of scale, and comprehensive

  supervision by a single court; and

         c.     No unusual difficulties are likely to be encountered in the management of

  this class action.

         110.   Ascertainability. GreenSky is in possession of the necessary records in the

  form of receipts and billing statements to identify members of the Class; as such,the Class

  will be easily ascertainable.

                                      COUNT ONE:
                       VIOLATIONS OF FLORIDA'S LOAN BROKER LAW
                                (Fla. Stat. § 687.14 et seq.)
                                   Against All Defendants

         111.   Plaintiff, on behalf of herself and those similarly situated, realleges and

  incorporates by reference each and every allegation set forth in the preceding paragraphs

  as though alleged in full herein.

         112.   Plaintiff brings this count on behalf of the Class.

         113.   As stated above, pursuant to Fla. Stat. § 687.14(4)(a)-(b), a "loan broker"

  includes "any person" who, subject to a list of exemptions, "For or in expectation of

  consideration arranges or attempts to arrange or offers to fund a loan of money, a credit

  card, or a line of credit"; and "For or in expectation of consideration assists or advises a

  borrower in obtaining or attempting to obtain a loan of money, a credit card, a line of

  credit.. ."

         114.   GreenSky does not qualify as any of the exemptions listed in Fla. Stat. §

  687.14(4).




                                              24
Case 0:20-cv-62441-BB Document 1-2 Entered on FLSD Docket 12/01/2020 Page 29 of 37




         115.   As described throughout this petition, the vast bulk of GreenSky's business

  is originating consumer loans and taking undisclosed charges thereon.

         116.   GreenSky acts as a "loan broker" in numerous ways.

         117.   Pursuant to Fla. Stat. § 687.141(2), a loan broker is proscribed from making

  or using any false or misleading representations or omitting any material facts in the offer

  or sale of the services of the loan broker or engaging, directly or indirectly, in any act that

  operates or would operate as fraud or deception upon any person in connection with the

  offer or sale of the services of the loan broker, despite the lack of reliance by the buyer.

         118.   GreenSky has continuously violated Fla. Stat. § 687.141(2) during the Class

  Period.

         119.   Likewise, GreenSky has continuously violated Fla. Stat. § 687.141(2) by

  engaging in acts that, directly or indirectly, operate as fraud or deception upon buyers

 (i.e., Florida consumers).

         120.   Plaintiff and all Class members have been injured as a result of GreenSky's

  violations of the loan broker laws.

        121.    GreenSky's practices, as described herein, deprived Plaintiff and all Class

  members of the protections offered by Florida law.

        122.    Under Fla. Stat. § 687.147,"Any borrower injured by a violation of this act

  may bring an action for recovery of damages. Judgment shall be entered for actual

  damages, but in no case less than the amount paid by the borrower to the loan broker,

  plus reasonable attorney's fees and costs. An award may also be entered for punitive

  damages."




                                               25
Case 0:20-cv-62441-BB Document 1-2 Entered on FLSD Docket 12/01/2020 Page 30 of 37




         123.    In the alternative to damages, and because in such circumstance Plaintiff

  and the Class members would have no adequate remedy at law, they are entitled to

  restitution.

                                    COUNT TWO:
            VIOLATIONS OF FLORIDA'S CREDIT SERVICE ORGANIZATIONS ACT
                                      ("CSOA")
                             (Fla. Stat. § 817.7001 et seq.)
                                Against All Defendants

         124.    Plaintiff, on behalf of herself and those similarly situated, realleges and

  incorporates by reference each and every allegation set forth in the preceding paragraphs

  as though alleged in full herein.

         125.    Plaintiff brings this count on behalf of the Class.

         126.    The CSOA defines a "credit service organization"("CSO") as "any person

  who, with respect to the extension of credit by others, sells, provides, performs, or

  represents that.he or she can or will sell, provide, or perform, in return for the payment

  of money or other valuable consideration, any of the following services:



         2. Obtaining an extension of credit for a buyer; or

         3. Providing advice or assistance to a buyer with regard to the services described

         in either subparagraph 1. or subparagraph 2." •

  Fla. Stat. § 817.7001(2)(a).

         127.    GreenSky does not qualify as any of the CSO exemptions listed in Fla. Stat.

  § 817.7001(2)(b).

         128.    GreenSky acts as a CSO in numerous ways. In effect, GreenSky's entire

  business, as described throughout, is assisting, advising, arranging, attempting to


                                               26 .
Case 0:20-cv-62441-BB Document 1-2 Entered on FLSD Docket 12/01/2020 Page 31 of 37




  arrange, and actually obtaining consumer credit (installment loans, primarily) for

  borrowers.

         129.    GreenSky is therefore a "CSO" under Florida law.

         130.    Pursuant to Fla. Stat. § 817.7005(1), a CSO is prohibited from receiving

  money or other valuable consideration for its services without having obtained a $10,000

  surety bond in Florida.

         131.    On information and belief, GreenSky has received money and/or other

  valuable consideration for its services (thousands of times over) in Florida without

  having obtained a $10,000 surety bond in Florida. GreenSky has thus violated Fla. Stat. §

  817.7005(1).

         132.    Pursuant to Fla. Stat. § 817.7005(2), a CSO is prohibited from receiving

  money or other valuable consideration for referring a buyer to grantor of credit who will

  or may extend the buyer credit on terms "substantially the same" as those available to

  the general public.

        133.     As described throughout this petition,the vast bulk of GreenSky's revenues

  have come from receiving "merchant fees" in its origination and/or solicitation of loans

  on behalf of its bank partners.

        134.     The terms offered by GreenSky are substantially the same (and, in some

  cases, markedly worse) as those offered to the general public. Broadly, GreenSky-

  branded loans carry APRs of 8 to 27%, the merchant fees excluded. These are

   substantially the same terms" upon which such loans are offered to the general public.




                                             27
Case 0:20-cv-62441-BB Document 1-2 Entered on FLSD Docket 12/01/2020 Page 32 of 37




  Such point was also highlighted above with regard to the terms offered by SunTrust

  through its own home improvement loan program.

         135.   GreenSky has thus violated Fla. Stat. § 817.7005(2) as to Plaintiff and each

  putative Class Member.

         136.   Pursuant to Fla. Stat. § 817.7005(4), a CSO shall not"[m]ake or use any false

  or misleading representations or omit any material fact in the offer or sale of the services

  of a credit service organization or engage, directly or indirectly, in any act, practice, or

  course of business that operates or would operate as fraud or deception upon any person

  in connection with the offer or sale of the services of a credit service organization,

  notwithstanding the absence of reliance by the buyer."

         137.   GreenSky has, countless times, violated Fla. Stat. § 817.7005(4) for

  substantially the same reasons as it has violated Fla. Stat. § 687.141(2), supra.

         138.   Under the CSOA,a CSO is to meet certain affirmative duties; GreenSky has

  also violated the statute in this regard.

         139.   Pursuant to Fla. Stat.§ 817.704(1)(a), a CSO shall include in its contract with

  a buyer a "conspicuous statement in boldfaced type" with specific language pertaining

  to a consumer's right to cancel such contract within five days.

         140.   Pursuant to Fla. Stat.§ 817.704(1)(b), a CSO shall include in its contract with

  a buyer,"The terms and conditions of payment,including the total of all payments to be

  made by the buyer, specifying the amount of the payments to be made to the credit

  service organization or to some other person..."




                                               28
Case 0:20-cv-62441-BB Document 1-2 Entered on FLSD Docket 12/01/2020 Page 33 of 37




         141.   As described throughout this petition, GreenSky completely conceals from

  buyers the amount of merchant fees it receives as a function of their transaction. As

  described above, GreenSky not only conceals the amount of these fees but has expressly

  permitted and/or encouraged its merchants to pass the cost of the fees on to consumers.

         142.   GreenSky does not disclose to Plaintiff or the putative Class Members its

  merchant fees.

         143.   Pursuant to Fla. Stat. § 817.704(1)(c), a CSO shall include in its contract with

  a buyer "[a] full and detailed description of the services to be performed by the credit

  service organization for the buyer, including all guarantees and all promises of full or

  partial refunds.,and the estimated date by which the services are to be performed or the

  estimated length of time for performing the services. .."(emphasis added).

         144.   Pursuant to Fla. Stat. § 817.704(2), a CSO shall include in its contract with a

  buyer a "Notice of Cancellation" form,including a duplicate,that is easily detachable and

  contains specified language in boldface concerning the consumer's right to cancel the

  contract within five days.

         145.   Because GreenSky does not enter into contracts directly with the buyers, it

  fails to comply with these statutory mandates. Thus, GreenSky has violated Fla. Stat. §§

  817.704(1)(a),817.704(1)(b),817.704(1)(C), and 817.704(2) as to Plaintiff and each proposed

  Class Member.

         146.   Plaintiff and all Class members have been injured as a result of GreenSky's

  violations of the CSOA.




                                               29
Case 0:20-cv-62441-BB Document 1-2 Entered on FLSD Docket 12/01/2020 Page 34 of 37




         147.    GreenSky's practices, as described herein, deprived Plaintiff and all Class

  members of the protections offered by Florida law.

         148.    Pursuant to Fla. Stat. § 817.706, "Any buyer injured by a violation of this

  part may bring an action for recovery of damages. Judgment shall be entered for actual

  damages, but in no case less than the amount paid by the buyer to the credit service

  organization, plus reasonable attorney's fees and costs. An award may also be entered

 • for punitive damages."

         149.    In the alternative to damages, and because in such circumstance Plaintiff

  and the Class members would have no adequate remedy at law, they are entitled to

  restitution.


                                        COUNT THREE:
                                      INJUNCTIVE RELIEF
                                      Against All Defendants

         150.    Plaintiff, on behalf of herself and those similarly situated, realleges and

  incorporates by reference each and every allegation set forth in the preceding paragraphs

  as though alleged in full herein.

         151.    Plaintiff brings this count on behalf of the Class.

        152.     Having no adequate remedy at law to prevent GreenSky from its ongoing

  illicit behavior, Plaintiff requests that this Court enjoin GreenSky from the abusive

  practices described in this petition.

        153.     Florida consumers will be irreparably harmed by GreenSky's ongoing

  concealment of its plainly illegal finance charges.




                                               30
Case 0:20-cv-62441-BB Document 1-2 Entered on FLSD Docket 12/01/2020 Page 35 of 37




         154.    An injunction in this regard is also in the public interest as GreenSky was

  sued in Florida several years ago for essentially the same behavior and yet has failed to

  rectify its illegal practices; the nature of GreenSky's duplicity, as described throughout

  this petition, is very difficult for individual persons to discover; the amounts of fees being

  furtively charged by GreenSky are substantial; and GreenSky has repeatedly revealed its

  willingness to fund merchants who overtly prey on vulnerable people (e.g., the elderly,

  the infirm, the illiterate).

                                    PRAYER FOR RELIEF

         WHEREFORE, Plaintiff, individually and on behalf of the Class, prays for the

  following relief:

         1. Approving of the proposed Class;

         2. Certifying Plaintiff as Class representative and her counsel as Class counsel;

         3. Declaring that Defendants committed the violations alleged herein;

         4. Granting damages, restitution, and/or disgorgement to the Class;

         5. Granting compensatory damages, the amount of which is to be determined by

             jury at trial;

         6. Granting punitive damages;

         7. Granting pre and post-judgment interest;

       . 8. Granting attorneys'fees and costs; and

         9. Enjoining GreenSky from the conduct described herein.

                                 DEMAND FOR JURY TRIAL




                                               31
Case 0:20-cv-62441-BB Document 1-2 Entered on FLSD Docket 12/01/2020 Page 36 of 37




         Plaintiff, individually and on behalf of the Class, hereby demands a jury trial on

  all issues so triable.




                                            32                  _
Case 0:20-cv-62441-BB Document 1-2 Entered on FLSD Docket 12/01/2020 Page 37 of 37




  Dated: July 17, 2020

  Respectfully submitted:

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